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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION


 UNITED STATES OF AMERICA                    CRIMINAL ACTION NO. 06-30039-02-04

 VERSUS                                      JUDGE ROBERT G. JAMES

 GAMIL AHMED AHMED &                         MAG. JUDGE KAREN L. HAYES
 BAYOU KING, INC.

                                  MEMORANDUM RULING

       Before the Court are Defendants Gamil Ahmed Ahmed’s (“Ahmed”) and Bayou King,

 Inc.’s (“Bayou King”) Motion to Quash Indictment [Doc. No. 77], First Supplemental Motion to

 Quash [Doc. No. 94], and Second Motion to Quash [Doc. No. 95]. Defendants, Bayou King and

 its owner, Ahmed, operate a convenience store in Tallulah, Louisiana, and are charged with

 several counts of selling counterfeit goods in violation of 18 U.S.C. § 2320. Defendants claim

 that they are being prosecuted because Ahmed is of Yemeni descent, in violation of the Fifth

 Amendment’s Equal Protection Clause and that the Indictment contains multiple charges arising

 out of the same transaction in violation of the Fifth Amendment’s Double Jeopardy Clause. The

 Government filed responses [Doc. Nos. 106 & 107].

        For the following reasons, Defendants’ Motion to Quash Indictment, First Supplemental

 Motion to Quash, and Second Motion to Quash are DENIED.




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 I.     LAW AND ANALYSIS

        A.      Selective Prosecution

        In their Motion to Quash Indictment and First Supplemental Motion to Quash,

 Defendants claim that they are being prosecuted because Ahmed is of Yemeni descent in

 violation of their right to equal protection. Defendants argue that the Government has failed to

 prosecute non-Arabic individuals who sell counterfeit goods. Defendants were indicted along

 with 17 other individuals whom they allege to be of Arabic descent. However, in the past two

 years, only two other individuals have been charged with selling counterfeit goods in the

 Western District of Louisiana, and no individuals have been charged in the Monroe Division in

 the past three years. Defendants also contend that their private investigator has purchased

 counterfeit goods from non-Arabic individuals in the Western District of Louisiana and would

 introduce such evidence if their request for an evidentiary hearing is granted.

        The Government responds that Defendants’ evidence is insufficient to show selective

 prosecution or warrant an evidentiary hearing. The Government argues that not all of the

 Defendants indicted in this case appear to be of Arabic descent. The Government also argues

 that the search warrants and accompanying affidavits submitted in this case provide an

 independent basis for the prosecution of these Defendants.

        “[T]o make out a claim of selective prosecution, the defendant must show: 1) that others

 similarly situated have not been prosecuted, and 2) that the Government’s prosecution of him is

 selective, invidious, in bad faith or based on impermissible considerations such as race, religion,

 or his exercise of constitutional rights.” United States v. Hayes, 589 F.2d 811, 819 (5th Cir.



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 1979).

          Defendants have failed to meet their “heavy burden” of demonstrating selective

 prosecution. United States v. Ramirez, 765 F.2d 438, 339 (5th Cir. 1985). As to the first

 element, Defendants’ evidence that few individuals are prosecuted for selling counterfeit goods,

 if true, does not show that the Government has ignored similarly situated offenders. “Due to

 limited resources of the government, there will always be some [individuals] who elude

 prosecution by the government. This factor is not sufficient to show selective prosecution.”

 United States v. Tibbetts, 646 F.2d 193, 195-96 (5th Cir. 1981).

          Even if Defendants established the first element, they have not met their burden of

 demonstrating that they were prosecuted because Ahmed is from Yemen. See Ramirez, 765 F.2d

 at 440 (The “showing of discriminatory purpose require[s that] the petitioner. . . show that the

 decision-maker . . . selected or reaffirmed a particular course of action at least in part ‘because

 of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.”). Defendants have

 offered no evidence, only assertions, that the Government’s prosecution is based on

 impermissible considerations. Conclusory allegations of an impermissible motive are not

 sufficient to demonstrate that the Government has acted in bad faith. Id. A review of the search

 warrants and supporting affidavits shows that the Government had objective evidence of

 criminal wrongdoing that is unrelated to Ahmed’s country of origin.

          Additionally, Defendants are not entitled to an evidentiary hearing because they have

 failed to present “facts sufficient to create a reasonable doubt about the constitutionality of [the]

 prosecution.” Hayes, 589 F.2d at 819.


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        Defendants’ Motion to Quash Indictment and First Supplemental Motion to Quash are

 DENIED.

        B.      Double Jeopardy

        In their Second Motion to Quash, Defendants claim that the Indictment alleges multiple

 offenses arising out of the same transaction, in violation of the Fifth Amendment’s proscription

 against multiple punishments for a single offense.1 Defendants argue that the Indictment should

 be consolidated, and they should be charged for the cumulative sale of counterfeit goods on each

 date alleged, instead of each counterfeit trademark. See, e.g., United States v. Berry, 977 F.2d

 915, 920 (5th Cir. 1992) (Where the statute proscribed possession of a firearm or ammunition by

 a convicted felon, the defendant could not be convicted of simultaneous possession of a firearm

 and ammunition.).

        The Government responds that Defendants were properly charged in separate counts for

 each counterfeit trademark they are alleged to have trafficked or attempted to traffic. See United

 States v. Song, 934 F.2d 105, 109 (7th Cir. 1991) (The defendant was properly indicted for each

 counterfeit mark she was selling under 18 U.S.C. § 2320.).

        “Charging a single offense under more than one count of an indictment is multiplicious

 and raises the Double Jeopardy specter of multiple punishments.” United States v. Sharpe, 193



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         The Indictment is organized as follows: each count alleges that Defendants sold (or
 attempted to sell) a counterfeit trademark (e.g., Lacoste) on a specific date. For example, Counts
 three and four of the Indictment involve the alleged sale of counterfeit goods on July 14, 2005.
 Count three alleges that Defendants sold counterfeit “Girbaud” goods, and Count four alleges
 that Defendants sold counterfeit “Lacoste” goods.

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 F.3d 852, 865 (5th Cir. 1999). To determine whether Defendants’ conduct constitutes a single

 offense, the court must identify “the unit of prosecution of the offense charged.” Sanabria v.

 United States, 437 U.S. 54, 67-70 (1978). Title 18 of the United States Code, Section 2320,

 punishes “whoever intentionally traffics or attempts to traffic in goods or services and knowingly

 uses a counterfeit mark” on such goods or services. 18 U.S.C. § 2320. The allowable unit of

 prosecution under 18 U.S.C. § 2320 is an issue of first impression in the Fifth Circuit. However,

 the Seventh Circuit squarely addressed this issue in United States v. Song. Relying on both the

 express language of the statute and its legislative history, the Seventh Circuit held that “the

 correct unit of prosecution under § 2320 is the counterfeit mark, so [an] indictment charging

 different counterfeit marks in each count [i]s not multiplicitous.” Song, 934 F.2d at 109.

         While Defendants claim that they should be charged for the cumulative sale of

 counterfeit goods, the Seventh Circuit’s reasoning in Song, which the Court adopts, is

 instructive: in enacting Section 2320, Congress intended to “protect individual victims-

 purchasers, manufacturers, and retailers.” Id. Each counterfeit trademark alleged constitutes a

 separate crime with a specific victim and unique trademark registration. Unlike the statute in

 Berry, which was designed to disarm convicted felons, Section 2320 was designed to protect

 individual victims. Cf. Bell v. United States, 349 U.S. 81, 99 (1955) (The Court held that the

 transportation of two women on the same trip in the same vehicle constitutes a single offense;

 however, the statute was designed to protect community morals.). Therefore, each count of the

 Indictment properly charges Defendants for each counterfeit trademark they are alleged to have

 trafficked or attempt to traffic.


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        Defendants’ Second Motion to Quash is DENIED.

 II.    CONCLUSION

        For the reasons set forth in this Court’s ruling, Defendants Gamil Ahmed Ahmed’s and

 Bayou King, Inc.’s Motion to Quash Indictment [Doc. No. 77], First Supplemental Motion to

 Quash [Doc. No. 94], and Second Motion to Quash [Doc. No. 95] are DENIED.

        MONROE, LOUISIANA, this 13th day of June, 2007.




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